               Case 1:24-cr-00542-AS                            Document 21                 Filed 09/30/24             Page 1 of 2

          Criminal Notice of Appeal - Form A


                                                                NOTICE OF APPEAL

                                                               United States District Court

                                              Southern                     D istrict of New York
                                             -------

          Caption :
          United States of America V.

                                                                                                Docket No.   1 :24-cr- 542
          Sean Combs
                                                                                                             And rew L. Carter, Jr.
                                                                                                                    (District Court Judge)


          Notice is here by given that Sean Combs _______________ appeals to the Un ited States Court of

          Appea ls fo r the Second Ci rcuit from the judgment ____ 1. other 1 ✓ _Order denying rele ~~-~-~-~ conditions
                                                                                               (specify)
          entered in this action on September 18, 2024
                                             (date)




UJ        Th is appeal concerns : Conviction on ly L__ Sentence only l_J Conviction & Sentence L__ Other I                            ✓
h         Defendant found gui lty by plea I       I tri al I      I N/A I ✓   .
          Offense occurred after November 1, 1987? Yes I                      No [          N/A [   ✓
          Date of sentence : _ _ _ _ _ _ __ _ _ _ N/A                         I✓I                                                    (/)
                                                                                                                                              c;
          Bail/Ja il Disposition : Comm itted I   ✓     Not committed I           I N/A I                                           C,
                                                                                                                                              (/J
                                                                                                                                              _,
                                                                                                                                              ;;a~
                                                                                                                                              O !T



          Appellant is represented by counsel? Yes              ✓ I No I          If yes , provide the fo llowing informatio n:
                                                                                                                                             .·-
                                                                                                                                             c.:



          Defe ndant's Counsel:         Alexandra A.E. Shapiro

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           Counsel 's Phone :            (212) 258-4881


    ..    Assistant U.S. Attorney:       Emily Johnson
    {)
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                                                      U.S. District Court

                                               New York Southern - Manhattan
                                                                                                           Receipt Date: Sep 30, 2024 2:17PM
SEAN COMBS



 Rcpt. No: 33291                                       Trans. Date: Sep 30, 2024 2:17PM                                        Cashier ID: # JE

 CD      Purpose                                      Case/Party/Defendant                     Qty                   Price               Amt

 203      Notice of Appeal/Docketing Fee                                                         1                  605 .00            605.00




 CD      Tender                                                                                                                           Amt

 cc       Credit Card                                                                                                                 $605 .00

                                                                             Total Due Prior to Payment:                              $605.00

                                                                                         Total Tendered:                              $605.00

                                                                                    Total Cash Received:                                 $0.00

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 Comments: 24CR00542 ALC



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